           Case 19-10737            Doc 9       Filed 03/13/19 Entered 03/14/19 00:51:07                        Desc Imaged
                                                Certificate of Notice Page 1 of 4
                                               United States Bankruptcy Court
                                                 District of Massachusetts
In re:                                                                                                     Case No. 19-10737-fjb
Jean Banks                                                                                                 Chapter 7
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0101-1                  User: admin                        Page 1 of 1                          Date Rcvd: Mar 11, 2019
                                      Form ID: 309aauto                  Total Noticed: 17


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Mar 13, 2019.
db             +Jean Banks,    18 Peabody Street No. 3,      Salem, MA 01970-5002
aty            +Michael J. Splaine,    Michael J. Splaine, Attorney At Law,     221 Essex Street,  FL 3,
                 Salem, MA 01970-3776
smg             MASS DEPT OF REVENUE,     BANKRUPTCY UNIT,    P0 BOX 9564,   Boston, MA 02114-9564
20285845       +Best Egg,    PO Box 5493,    Carol Stream, IL 60197-5493
20285846       +Chase,    P.O. Box 1423,    Charlotte, NC 28201-1423
20285849       +Home Depot Credit Services,     P.O. Box 9001010,    Louisville, KY 40290-1010
20285850       +Mr Cooper,    PO Box 650783,    Dallas, TX 75265-0783
20285851       +Sears Credit Cards,    P.O. Box 78051,     Phoenix, AZ 85062-8051
20285852       +TD Bank,    P.O. Box 16027,    Lewiston, ME 04243-9513

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
tr             +EDI: BLFRILEY.COM Mar 12 2019 04:53:00      Lynne F. Riley,    Casner & Edwards, LLP,
                 303 Congress Street,   Boston, MA 02210-1013
smg            +E-mail/Text: duabankruptcy@detma.org Mar 12 2019 00:51:03       CHIEF COUNSEL, LEGAL DEPARTMENT,
                 DEPARTMENT OF UNEMPLOYMENT ASSISTANCE,    COMMONWEALTH OF MASSACHUSETTS,
                 19 STANIFORD STREET,1ST FLOOR,    Boston, MA 02114-2502
smg             EDI: MASSDOR Mar 12 2019 04:53:00      MASS DEPT OF REVENUE,    BANKRUPTCY UNIT,    P0 BOX 9564,
                 Boston, MA 02114-9564
ust            +E-mail/Text: ustpregion01.bo.ecf@usdoj.gov Mar 12 2019 00:51:00        John Fitzgerald,
                 Office of the US Trustee,   J.W. McCormack Post Office & Courthouse,
                 5 Post Office Sq., 10th Fl, Suite 1000,    Boston, MA 02109-3901
20285844        EDI: BANKAMER.COM Mar 12 2019 04:53:00      Bank of America,    PO Box 15019,
                 Wilmington, DE 19886
20285847       +EDI: RCSFNBMARIN.COM Mar 12 2019 04:53:00      Credit One Bank, NA,     P.O. Box 60500,
                 City of Industry, CA 91716-0500
20285848       +EDI: DISCOVER.COM Mar 12 2019 04:53:00      Discover,    PO Box 71084,    Charlotte, NC 28272-1084
20285853        EDI: TFSR.COM Mar 12 2019 04:53:00      Toyota Financial Services,      P.O. Box 5855,
                 Carol Stream, IL 60197
20285854       +EDI: WFNNB.COM Mar 12 2019 04:53:00      Victoria’s Secret,    PO Box 659728,
                 San Antonio, TX 78265-9728
                                                                                               TOTAL: 9

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Mar 13, 2019                                             Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on March 11, 2019 at the address(es) listed below:
              John Fitzgerald    USTPRegion01.BO.ECF@USDOJ.GOV
              Lynne F. Riley   rileytrustee@casneredwards.com, MA14@ecfcbis.com;luo@casneredwards.com
              Michael J. Splaine   on behalf of Debtor Jean Banks splaine.law@verizon.net
                                                                                            TOTAL: 3
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Information to identify the case:
Debtor 1              Jean Banks                                                            Social Security number or ITIN     xxx−xx−6164
                      First Name   Middle Name     Last Name                                EIN _ _−_ _ _ _ _ _ _
Debtor 2                                                                                    Social Security number or ITIN _ _ _ _
                      First Name   Middle Name     Last Name
(Spouse, if filing)
                                                                                            EIN   _ _−_ _ _ _ _ _ _
United States Bankruptcy Court            District of Massachusetts
                                                                                            Date case filed for chapter 7 3/7/19
Case number:          19−10737


Official Form 309A (For Individuals or Joint Debtors)
Notice of Chapter 7 Bankruptcy Case           12/15

For the debtors listed above, a case has been filed under chapter 7 of the Bankruptcy Code. An order for relief has
been entered.

This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Read all pages carefully.

The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not
take action to collect debts from the debtors or the debtors' property. For example, while the stay is in effect, creditors cannot
sue, garnish wages, assert a deficiency, repossess property, or otherwise try to collect from the debtors. Creditors cannot
demand repayment from debtors by mail, phone, or otherwise. Creditors who violate the stay can be required to pay actual and
punitive damages and attorney's fees. Under certain circumstances, the stay may be limited to 30 days or not exist at all,
although debtors can ask the court to extend or impose a stay.

The debtors are seeking a discharge. Creditors who assert that the debtors are not entitled to a discharge of any debts or who
want to have a particular debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office within
the deadlines specified in this notice. (See line 9 for more information.)

To protect your rights, you may wish to consult an attorney. All documents filed in the case may be inspected through
PACER (Public Access to Court Electronic Records at www.pacer.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification
Numbers, which may appear on a version of this notice. However, the full numbers must not appear on any document
filed with the court.

Do not file this notice with any proof of claim or other document in the case. Do not include more than the last four
digits of a Social Security or Individual Taxpayer Identification Number in any document, including attachments, that
you file with the court.

                                                 About Debtor 1:                                      About Debtor 2:

1.      Debtor's full name                       Jean Banks

2.      All other names used in the
        last 8 years

3.     Address                               18 Peabody Street No. 3
                                             Salem, MA 01970

4.     Debtor's attorney                     Michael J. Splaine                                       Contact phone 978−825−9999
                                             Michael J. Splaine, Attorney At Law
       Name and address                      221 Essex Street                                         Email: splaine.law@verizon.net
                                             FL 3
                                             Salem, MA 01970

5.     Bankruptcy trustee                    Lynne F. Riley                                           Contact phone 617−426−5900
                                             Casner & Edwards, LLP
       Name and address                      303 Congress Street                                      Email: rileytrustee@casneredwards.com
                                             Boston, MA 02210
                                                                                                               For more information, see page 2>
Official Form 309A (For Individuals or Joint Debtors) Notice of Chapter 7 Bankruptcy Case                                                 page 1
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Debtor Jean Banks                                                                                                 Case number 19−10737 −fjb
6. Bankruptcy clerk's office                    U. S. Bankruptcy Court                                      Hours open: Monday−Friday
                                                J.W. McCormack Post Office &                                8:30am−5:00pm
    Documents in this case may be filed at this Court House
    address. You may inspect all records filed 5 Post Office Square, Suite 1150                             Contact phone 617−748−5300
    in this case at this office or online at    Boston, MA 02109−3945
    www.pacer.gov.
                                                                                                            Date: 3/11/19

7. Meeting of creditors                         April 9, 2019 at 10:00 AM                                   Location:

    Debtors must attend the meeting to be       The meeting may be continued or                             J.W. McCormack Post Office &
    questioned under oath. In a joint case,     adjourned to a later date. If so, the                       Court House, 5 Post Office
    both spouses must attend. Creditors may
    attend, but are not required to do so.      date will be on the court docket.                           Square, Room 325−B, Boston,
                                                                                                            MA 02109

8. Presumption of abuse                         The presumption of abuse does not arise.
    If the presumption of abuse arises, you
    may have the right to file a motion to
    dismiss the case under 11 U.S.C. §
    707(b). Debtors may rebut the
    presumption by showing special
    circumstances.


9. Deadlines                                    File by the deadline to object to               Filing
                                                discharge or to challenge                       deadline:
    Papers and any required fee must be         whether certain debts are                       6/10/19
    received by the bankruptcy clerk's office   dischargeable:
    no later than 4:30 PM (Eastern Time) by
    the deadlines listed.
                                                You must file a complaint:

                                                         • if you assert that the debtor is
                                                           not entitled to receive a
                                                           discharge of any debts under
                                                           any of the subdivisions of 11
                                                           U.S.C. § 727(a)(2) through (7),
                                                           or
                                                         • if you want to have a debt
                                                           excepted from discharge under
                                                           11 U.S.C. § 523(a)(2), (4) or (6).

                                                You must file a motion:

                                                         • if you assert that the discharge
                                                           should be denied under §
                                                           727(a)(8) or (9).


                                                Deadline to object to exemptions:                           Filing deadline: 30 days after the
                                                The law permits debtors to keep certain                     conclusion of the meeting of creditors
                                                property as exempt. If you believe that the
                                                law does not authorize an exemption
                                                claimed, you may file an objection.


10. Deadline to file §503(b)(9)                 Requests under Bankruptcy Code                              Filing deadline: 60 days from the first
    requests:                                   §503(b)(9)(goods sold within twenty(20)                     date set for the meeting of creditors
                                                days of bankruptcy) must be filed in the
                                                Bankruptcy Clerk's office.


11. Proof of claim                              For holder(s) of a claim secured by a                       Filing deadline: 70 days from the
                                                security interest in the debtor's principal                 Filing Date of the Petition
                                                residence, pursuant to Rule 3002(c)7(A):


                                                For creditors other than those holding a Claim Secured by a Security Interest in the
                                                Debtor's Principal Residence: A date has not been set yet. No property appears to be
                                                available to pay creditors. Therefore, please do not file a proof of claim now. If it later
                                                appears that assets are available to pay creditors, the clerk will send you another notice
                                                telling you that you may file a proof of claim and stating the deadline.
                                                                                                                   For more information, see page 3>
Official Form 309A (For Individuals or Joint Debtors) Notice of Chapter 7 Bankruptcy Case                                                     page 2
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Debtor Jean Banks                                                                                           Case number 19−10737 −fjb
12. Discharge of Debts                        The debtor is seeking a discharge of most debts, which may include your debt. A
                                              discharge means that you may never try to collect the debt from the debtor. If you
                                              believe that the debtor is not entitled to receive a discharge under Bankruptcy Code
                                              §727(a) or that a debt owed to you is not dischargeable under Bankruptcy Code
                                              §523(a)(2),(4), or (6), you must file a complaint or a motion if you assert the discharge
                                              should be denied under §727(a)(8) or (a)(9) in the bankruptcy clerk's office by the
                                              "Deadline to Object to Debtor's Discharge or to Challenge the Dischargeability of Certain
                                              Debts" listed on line 9 of this form. The bankruptcy clerk's office must receive the
                                              complaint or motion and any required filing fee by that deadline.

13. Creditors with a foreign address If you are a creditor receiving a notice mailed to a foreign address, you may file a motion
                                     asking the court to extend the deadlines in this notice. Consult an attorney familiar with
                                     United States bankruptcy law if you have any questions about your rights in this case.

14. Financial Management Training Deadline for debtor to attend a financial management training program
    Program Deadline for the Debtor approved by the United States Trustee: Sixty (60) days from the first date set
                                    for the meeting of creditors. The discharge will not enter if the debtor fails to attend
                                    a financial management−training program approved by the United States Trustee or if
                                    the debtor attends such training and fails to file a certificate of completion with the
                                    U.S. Bankruptcy Court. The training is in addition to the pre−bankruptcy counseling
                                    requirement. A list of approved courses may be obtained from the United States
                                    Trustee or from the court's website at www.mab.uscourts.gov.

15. Exempt property                           The law allows debtors to keep certain property as exempt. Fully exempt property will
                                              not be sold and distributed to creditors. Debtors must file a list of property claimed as
                                              exempt. You may inspect that list at the bankruptcy clerk's office or online at
                                              www.pacer.gov. If you believe that the law does not authorize an exemption that the
                                              debtors claim, you may file an objection. The bankruptcy clerk's office must receive
                                              the objection by the deadline to object to exemptions in line 9.

16. Abandonment of Estate Property Notice is hereby given that any creditor or other interested party who wishes to
                                   receive notice of the estate representative's intention to abandon property of the
                                   estate pursuant to 11 U.S.C. §554(a) must file with the Court and serve upon the
                                   estate representative and the United States trustee a written request for such notice
                                   within fourteen (14) days from the date first scheduled for the meeting of creditors.
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